                        Case: 1:14-cr-00102 Document #: 100 Filed: 01/23/18 Page 1 of 6(Note:
                                                                                         PageID       #:941
                                                                                              Identi$ Changes with Asterisks (*l)
                                                                                                                                                    Jl(
ILND 245C (Rev 08/02/2016) Amended Judgment in a Criminal Case
Sheet I



                                     UNITED STATES DISTRICT COURT
                                                             Northern District of Illinois

UNITED STATES OF AMERICA                                                     AMENDED JUDGMENT IN A CRIMINAL CASE
            v.
Mark Anstett                                                                 Case    Number:      14 CR 102   -I
                                                                             USM     Number:      47123 - 424
Date of Original Judgmentz 8112/2015                                         Thomas McQueen
(Or Date of Last Amended Judgment)                                           Defendant's Attorney
Reason for Amendment:
n       Correction of Sentence on Remand (18 U.S.C. 3742(f)(1)                  tr      Modification of Supervision Conditions (18 U.S.C. $$ 3563(c) or
             and (2))                                                                  3583(e))
tr           Reduction ofSentence for Changed Circumstances (Fed. R.            tr      Modification of Imposed Term of Imprisonment for Extraordinary
            Crim. P.35(b))                                                              and Compelling Reasons (18 U.S.C. $ 3582(cXl))

tr           Correction of Sentence by Sentencing Court (Fed. R. Crim. P.       tr      Modification of Imposed Term of Imprisonment for Retroactive
             3 5(a))                                                                   Amendment(s) to the Sentencing Guidelines ( I 8 U.S.C. $
                                                                                       3582(cX2))
X            Conection of Sentence for Clerical Mistake (Fed. R. Crim. P.
             36)                                                                tr     Direct Motion to District Court Pursuant
                                                                                        or !      ta u.s.c. g 355e(c)(7)
                                                                                                                                 E    Zg U.S.C. $ ZZSS


                                                                                !    UoOification of Restitution Order (t8 U.S.C. $ 3664)
THE DEFENDANT:
     [l   pleaded guilty to count(s) five of the indictment
     !    pleaded nolo contendere to count(s)           which was accepted by the court.
     I    was found guilty on    count(s)       after a plea of not guilty.

The defendant is adi                      ofthese offenses:
Title & Section                           Nature of Offense
l8 U.S.C. Section        1343             Wire Fraud                                                            t012009                      Five




         Th" deferd"nt is sentenced as provided in pages 3 through 4 ofthisjudgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984. Other than the amendments or modifications stated in this iudsment. the iudsment previouslv entered shall
stand. (See attachments)

     !    fne defendant    has been found not guilty on count(s)
     E Count(s)              dismissed on the motion of the United States'

          It is ordered that the defendant must notiff the United States attorney for this di                         ofany change ofname,
residence, or mailing address until all fines, restitution, costs, and special assessments i                            t are fully paid. If ordered to
pay restitution, the defendant must notifu the court and United States attorney of


                                                                                                         ion of Judgment




                                                                                        Harry D. Leinenweber, U.S. District Cou
                                                                                        Name and


                                                                                        Date       ,l*T;;
   Case: 1:14-cr-00102 Document #: 100 Filed: 01/23/18 Page 2 of 6 PageID #:942




DEFENDANT : Mark Anstett                                              Page2 of 4
CASE NUMBER: 14 CR r02 - |




See Attachment   (A) for a list of payees.
                   Case: 1:14-cr-00102a Criminal
                                        Document      #: 100 Filed: 01/23/18 Page 3 of 6 PageID      #:943
                                                                                         (Note: Identi& Changes                             with Asterisks (*))
ILND 245C (Rev. 08102/2016) Amended Judgment in  Case
Sheet 5 - Criminal Monetarv Penalties                                                                                                   Judgment-Paee3of4

DEFENDANT: MARK ANSTETT
CASE NUMBER: 14 CR 102 - l
                                            CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                 Assessment                                               Fine                             Restitution
  'otals                         $ 100.00                                                 $                                s*   97   ,331,250



  D      The determination of restitution is deferred until          . An Amended Judgment       in a Criminal   Case (to zlsc) will be entered after
         such determination.

         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. $ 3664(D, all nonfederal victims must be paid
    before the United States is paid.

     Name of Payee                                     Total Loss*                Restitution Ordered                                  Priority or
                                                                                                                                       Percentase
     See attachment A




                                             Totals:

       tr       Restitution amount ordered pursuant to plea agreement $

       u        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. S 3612(0. All of the payment options on Sheet 6 may be
                subject to penalties for delinquency and default, pursuant to 18 U.S.C. S 3612(g).

        x       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                   X    the interest requirement is waived for the restitution.

                   tr   the interest requirement for the        is modified as follows:



* Findings for the total amount oflosses are required under Chapters 109A, I 10, I l0A, and I l3A of Title 1 8 for offenses committed on or
after September 13, 1994, but before April23,1996.
                    Case: 1:14-cr-00102 Document #: 100 Filed: 01/23/18 Page 4 of 6 PageID      #:944
                                                                                    (Note: ldenti& Changes                                    with Asterisks (*))
ILND 245C (Rev. 0E/02l2016) Amended Judgment in   a   Criminal Case
Sheet 6 - Schedule of Payments                                                                                                          Judgment   -   Page 4 of 4

DEFENDANT: MARK ANSTETT
CASE NUMBER: 14 CR 102 - 1
                                                         SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A          !    Lump sum payment of       $           due immediately.

                  n       balance due not laterthan , or
                  tr      balance due in accordance with ! C, ! o, n                  E,   or n       F below; or


Bx              Payment to begin immediately (may be combined             with I C, !       D,   or !      F below); or


Ctr             Payment in
                commence
                             equal         (e.g. weekly, monthly, quarterly) installments of
                                                                     of this judgment; or
                                   (e.g., 30 or 60 days) after the date
                                                                                                 $         over   a   period   of   (e.g., months or years),    to



D          !    Payment in equal           (e.g. weekly, monthly, quarterly) installments of     $         over a period of         (e.g., months or   years),to
                commence           (e.g., 30 or 60 days) after release   from imprisonment to   a   term of supervision; or

           tr   Payment during the term of supervised release will commence within          (e.g., 30 or 60 days) after release from imprisonment.
                The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

           tr   Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

    X    loint and Several

Case Number                                           Total Amount              Joint and Several             Corresponding Payee,       if
Defendant and Co-Defendant Names                                                Amount                        Appropriate
(including defendant number)

George Ferguson     -   14 CR 102 -2   - joint and several amount: * 97,331,250

    fl   fne defendant shall pay the cost of prosecution.

    E    fne defendant shall pay the following court cost(s):

    E    fne defendant shall forfeit the defendant's interest in the following property to the United        States:


Payments shall be applied in the following order: ( I ) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
    Case: 1:14-cr-00102 Document #: 100 Filed: 01/23/18 Page 5 of 6 PageID #:945

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